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91 L.TW!DEH: USAO # ZUISROOZ';'B

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IN THE UNITED STATES DI_STRICT COURT

FOR THE DISTRICT oF MARYLANI) "~:-»~{.'-'--:5`5‘§o %`

 

UNDER SEAL bi»---_.ME;PUTY

CriminalNo. Mé)“i l_ @C?HL

(Conspiracy to Deprive Civil Rights, 18
KEITH ALLEN GLADSTONE, U.S.C. § 241; Conspiracy to Commit
Offenses Against the United States, 18

’ ` Defendant U.S.C. § 371; Witness Tampering, 18

' U.S.C. § 1512)

UNITED STATES OF AMERICA

V.

 

 

 

 

 

INDICTMENT

The Grand Jury for the District of Maryland charges that at all times relevant to this
Indictment:

, COUNT ONE
t (Conspiracy to Deprive Civil Rights)

l. 'The Baltirnore Police Departrnent (“BPD”) is an agency of the State of Maryland
Whose law enforcement jurisdiction includes Maryland’s largest city, Baltimore.

2. Sworn members of the BPD must abide by the Law Enforcement Ofticer’s Code
of Ethics, Which provides, in pertinent part

As a Law Enforcement Ofticer my fundamental duty is to serve the
community; to safeguard lives and property; to protect the innocent
against deception, the Weak against oppression or intimidation; the
peaceful against violence or disorder; and to respect the
constitutional rights of all to liberty, equality and justice. I-Ionest in
thought and deed both in my personal and official life, I will be
exemplary in obeying the law and the regulations of my department

.. I recognize the badge of my office as a symbol of public faith
and l accept it as a public trust to be held so long as l am true to the
ethics of police service.

3. KEITH ALLEN GLADSTONE joined the BPD on November 20, 1992, and
became a police officer. GLADSTONE Was promoted to Sergeant on December l6, 2011.

GLADSTONE_retired from the BPD on December 25, 2012, but then Was reinstated as a

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Sergeant on December 9, 2013. In March 20]4, GLADSTONE was the officer-in-charge of a
Special Enforcement Section (SES) unit assigned to BPD’s Western District. GLADSTONE
retired for a second time from the BPD on May l, 2017.

'4. W.J. joined the BPD on February 20, 2003, and became a police officer. W.J.
was promoted to Sergeant on October 14, 2013. In March 2014, W.J. was the officer-in-charge
_ of an SES unit assigned to BPD’s Western District.

5. In March of 2014, Ofiicer l, Officer 2, Ofiicer 3, Offlcer 4, and Offlcer 5 were
employed by the BPD.

6. GLADSTONE and W.J. previously worked together in the same unit, but in
l\/larch of 2014 GLADSTONE and W.J. were assigned to different units.

7. On the evening of March 26, 2014, GLADSTONE, who was on duty, was having
dinner with Officer l at a restaurant in Southeast Baltimore. GLADSTONE received a call on
his cell phone from W.J., who was in a panic. GLADSTONE answered the call but left the
restaurant to speak on the phone out of Officer l’s presence. W.J. had just deliberately run over
an arrestee, D.S., in the front yard of a home in Northeast Baltimore. GLADSTONE went back
inside the restaurant and asked Ofticer l if he had a BB gun and when Officer`l told him he did
not, GLAf)STONE asked Officer l to cal-l Officer l’s partner, Officer 2. Officer l did as
directed but Ofiicer 2, who lwas not working that day, told Officer l he did not have a BB gun
either. Ofi`lcer l told GLADSTONE that Officer 2 did not have a BB gun either.
GLADSTONE then left the restaurant a second time and went to the trunk of the BPD vehicle he
was driving where he retrieved a BB gun. l

S. GLADSTONE went back into the restaurant and told Officer 1 that they had to
leave immediately GLADSTONE then drove at a high rate of speed to the site of the D.S.’s

arrest on Anntana Avenue and Belair Road in Northeast Baltirnore City.

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9. Once there, GLADSTONE exited his vehicle and carried a BB gun to the front
yard of the house where D.S. had been run over. GLADSTONE dropped the BB gun near a
pickup truck where D.S. lay injured on the ground, unable to use his legs.

10. GLADSTONE then walked over to W.J. and Ofticer 3. GLADSTONE told W.J.,
in Officer 3’s presence, “it’s over by the truck,” or words to that effect, and GLADSTONE told
W.J. to have someone search by the truck. GLADSTONE then left the scene and drove away
with Officer 1.

11. W.J. told Offlcer 4 that a gun was in the grass and told Offlcer 4 to move it under
the pickup, closer to the victim. Offlcer 4 retrieved the BB gun from the grass and placed the BB
gun near the front driver side wheel underneath the pickup truck.

12. The Bl?l gun was then seen by another BPD officer and ultimately recovered by
the BPD’s crime lab unit.

, 13. D.S. was taken from the scene to the hospital, in custody, where drugs were
recovered from him. He was then taken from the hospital to BPD’s Central Booking where he
was charged Those charges included possession, use and discharge of a gas or pellet gun, for
the BB gun that GLADSTONE planted at the scene of D.S.’S arrest, and a number of drug
offenses. W.J. wrote a false statement of probable cause in the name of Offlcer 5, which Officer
5 agreed to submit in support of those charges W.J. approved the false statement of probable
cause as Oft`lcer 5’s supervisor. -

14. D.S. was detained on those charges until at least April 2, 2014.
15. The charges against D.S. arising out of his arrest on Marc_h 26, 2014, were

disposed of by nolle prosequi, which is a form of dismissal on January 16, 2015.

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16. Between in or about March 26, 2014, and January 16, 2015, in the District of

Maryland and elsewhere, the defendant,
KEITH ALLEN GLA])STONE,

while acting under color of law, knowingly and willfully conspired and agreed with W.J. and
with other persons both known and unknown to the grand jury, to injure, oppress, threaten, and
intimidate D.S. in the free exercise and enjoyment of the right secured to him by the Constitution
and the laws of the United States, not to be deprived of liberty without due process of law, which
includes the right not to be deprived of liberty on the basis of false evidence intentionally
presented against him by one acting under color of law.

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COUNT TWO
(Conspiracy to Commit Off`enses Against the United States)

The Grand Jury for the District of Maryland further charges that:

l. Paragraphs l through 15 of Count l are realleged and incorporated herein.

2. Between inn or about March 26, 2014J and January 16, 2015, in the District of
Mary'land and elsewhere, the defendant,

KEITH ALLEN GLADSTONE,
did unlawfully, voluntarily, intentionally and knowingly conspire, combine, confederate, and
agree with W.J., and others known and unknown to theGrand Jury, to commit offenses against
the United States that is, to knowingly conceal, cover up and falsify and make false entries in an
official Statement of Probable Cause in the District Court of Maryland for Baltimore City
reflecting W..l.’s actions, and the actions of his fellow Baltimore Police Department officers, in
relation to the seizure of a BB gun from D.S., with the intent to impede, obstruct and influence
the investigation and proper administration of that matter, a matter within the jurisdiction of the
United States Department of Justice, a department and agency of the United States, or in relation
to or contemplation of any such matter or case, in violation of 18 U.S.C. § 1519.
_QE.FIM

3. In furtherance of the conspiracy and to achieve its objects and purposes, members
of the conspiracy committed the following overt acts, among others, on March 26, 2014, in the
District of Maryland and elsewhere:

a. W.J. called GLADSTONE from the scene of D.S.’s arrest
b. GLADSTONE, who was at a restaurant with Officer l when he received the call

from W.J., asked Officer l if he had a BB gun.

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c. When Officer l said he didn’t, GLADSTONE asked Offlcer 1 to call Officer 2 to
see if he had a BB gun.

d. When neither l~Offlcer l nor Offlcer 2 had a BB gun, GLADSTONE retrieved one
from his BPD vehicle.

e. Af`ter retrieving the BB gun, GLADSTONE drove it to the scene of D.S.’s arrest.

f. Once he arrived at the scene of D.S.’s arrest, GLADSTONE placed the BB gun
near a pickup truck parked in the driveway of a residence on Anntana Avenue in
Baltimore, Maryland.

g. GLADSTONE then told W.J. that the BB gun was “over by the truc ” and told
W.J. to have someone search by the truck.

h. W.J. then told Officer 4 to move the gun that GLADSTONE had planted closer to
where W.J. had struckin.s. with his vehicl@.

i. Later that evening, Offlcer 5, at W.J.’s direction, filed a false Statement of
Probable Cause purporting to describe the events surrounding the arrest of D.S,,
including the recovery of the BB gun that GLADSTONE had planted on the
scene, and omitting GLADSTONE’s name from the report.

is U.s.c. § 371

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. COUNT THREE
(Witness Tampering by Causing or Inducing to
Withhold Communication with Law Enforcement)

The Grand Jury for the District of l\/[aryland further charges that:
l. Paragraphs l through 15 of Count l are realleged and incorporated herein.

2. On March l, 2017, W.J. and six other officers who had been members of the

 

BPD’s Gun Trace Task Force (“GTTF”) were arrested on federal racketeering charges.
Thereafter, it became public that multiple GTTF defendants were cooperating and providing
information to the United `States in an ongoing investigation

3. In January 2018, GLADSTONE went to trial in a civil suit in which he had been
named as a defendant Officer l was called as a witness. At the courthouse, GLADSTONE
asked Officer 1 if he wanted to bring his children swimming at a YMCA pool near
GLADSTONE’s horne in Pennsylvania. Officer 1 said he would like to but then GLADSTONE
told Officer l to use his wife’s cell phone to_ call GLADSTONE’s wife’s cell phone. Officer l
had never communicated with GLADSTONE using his wife’s cell phone or by calling
GLADSTONE’s wife’s cell phone. Officer 1 used his wife’s cell phone to call GLA_DSTONE’s
wife’s cell phone, and Officer l and GLADSTONE arranged a date to go to the YMCA.

v 4. Officer l v\:!ent to the YMCA near GLADSTONE’s horne in Pennsylvania.
GLADSTONE had arranged to meet in the swimming pool to ensure that Officer l did not have
a recording device on him. Once GLADSTONE and Officer l were in the pool, Officer 1 asked
GLAD STONE words to the effect of, “do you have anything to worry about now, you know,
since [W,.l.] was arrested, do you have any concerns?” GLADSTONE responded that the only
thing he was worried about was the incident on Belair`Road, which was a reference to the arrest
of D.S. GLADSTONE told Officer l that if he was brought in for questioning by federal law

enforcement or prosecutors who had investigated the GTTF, that Officer l should lie and tell
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them that he and GLADSTONE were only at the crime scene for “scene security,” which Officer
l knew was not true since they did not provide any “scene security.” Officer l then said words
to the effect of, “you had me call [Officer 2], my partner, asking him for a BB gun,” and
GLADSTONE responded with words to the effect of, “don’t worry about [Officer 2], he doesn’t
know anything, l got it from my trunk,” referring to the BB gun that GLADSTONE brought to
the scene of D.S.’s arrest at Belair Road and Anntana Avenue.

5. Between in or about January l, 2018, and February 6, 2019, in the District of
Maryland and elsewhere, the defendant,

KEITH ALLEN GLADSTONE,

did knowingly corruptly persuade, and attempt to corruptly persuade, Officer l with the intent to
influence, delay and prevent the communication to the Federal Bureau of Investigation of
information relating to the commission and possible commission of Federal oH`enses, namely the
conspiracy to violate D.S.’s civil rights, as charged in Count One, and the conspiracy against the
United States as charged in Count Two. Specifically, GLADSTONE directed Officer 1 to lie to
federal law enforcement about GLADSTONE and Officer l’s actions during the arrest of D.S.

18 U.s.c. § 1512(b)(3)

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ROBERT K. HUR
UNITED STATES AT'l ORNEY/

A TRUE BILL:

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